                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION (DETROIT)

In re:

HEITMANN, Brandon L.,                                  Chapter 7
                                                       Case No. 24-41956-mar
              Debtors.                                 Hon. Mark A. Randon
                                       /

           ORDER APPROVING SALE OF PERSONAL PROPERTY

         THIS MATTER having come before the Court on the motion of Douglas S.

Ellmann, Trustee, for an order approving a his sale (the “Motion”, Docket __), and

it appearing from the certification filed pursuant to L.B.R. 9014-1 (E.D.M.) that

the Motion and notice of the motion was duly served and that no timely response

was filed and served, and the Court having been fully advised in the premises;

         NOW, THEREFORE,

         IT IS HEREBY ORDERED that the Motion is granted and the sale

described therein is approved.

         IT IS FURTHER ORDERED that the Debtor has waived his right to

payment of an exemption in any of the items that are the subject of the sale. These

items are defined in the Motion as the “Assets”.




                                    Exhibit “1”
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